         Case 6:16-bk-01566-KSJ         Doc 32     Filed 05/10/17     Page 1 of 2



                                   ORDERED.


 Dated: May 10, 2017




                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

In re:

AIDA C. ROJAS-FERNANDEZ                          CASE NO.        6:16-bk-01566-KSJ

            Debtor.                              CHAPTER         13
____________________________________/

            ORDER DENYING U.S. BANK NATIONAL ASSOCIATION
            MOTION FOR ORDER CONFIRMING TERMINATION OF
                    THE AUTOMATIC STAY AS MOOT

         THIS CASE came before the Court for hearing on October 18, 2016 at 9:30 AM

on the Motion for Order Confirming Termination of the Automatic Stay filed by U.S. Bank

National Association (Doc. No. 16) (the “Motion”). Having reviewed the Motion and for

the reasons stated orally on the record, the Court finds that the Motion should be denied as

moot. Accordingly, it is
        Case 6:16-bk-01566-KSJ         Doc 32     Filed 05/10/17     Page 2 of 2




       ORDERED:

       1.      The Motion (Doc. No. 16) is denied as moot.



Attorney Austin M. Noel is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of entry of the order.
